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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

EDWARD BRAGGS, et al.                       )
                                            )
               Plaintiffs,                  )
                                            )
v.                                          )       CIVIL ACTION NO.
                                            )       2:14-cv-00601-MHT-JTA
JOHN Q. HAMM, in his official               )       Judge Myron H. Thompson
capacity as Commissioner of the             )
Alabama Department of Corrections,          )
et al.                                      )
                                            )
               Defendants.                  )

      PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION TO FILE
          REPORT ON MENTAL HEALTH STAFFING REPORTS

          Pursuant to this Court’s July 20, 2022 Order (Doc. 3667), Plaintiffs are to file

 multiple documents today, August 5, 2022, by 5:00 p.m. One of these filings is

 Plaintiffs’ Report on What the Most Recent Mental Health Staffing Reports Reflect.

 Plaintiffs ask this Court to allow Plaintiffs until 11:59 p.m. today, August 8, 2022, to

 submit this filing. Plaintiffs anticipate being able to complete all other filings prior to

 5:00 p.m. Plaintiffs have consulted with Defendants, who do not oppose this motion.


     Dated: August 8, 2022                   Respectfully Submitted,

                                             /s/ Ashley N. Light
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                                            One of the Attorneys for Plaintiffs

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                                CERTIFICATE OF SERVICE
I hereby certify that I have on this 8th day of August, 2022 electronically filed the
foregoing with the clerk of court by using the CM/ECF system, which will send a notice
of electronic filing to the following:

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